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                                    In the
              United States Court of Appeals
                                    for the
                            Federal Circuit


                       In re: ZEPP HEALTH CORP.,
                                 Petitioner.
                   __________________________________
                                2025-100
                   __________________________________
                   On Petition for Writ of Mandamus to the
                         United States District Court
                     for the Eastern District of Texas in
        No. 2:23-cv-00172-RWS-RSP, Magistrate Judge Roy S. Payne
                  __________________________________

          RESPONDENT’S OPPOSITION TO PETITIONER’S
              PETITION FOR WRIT OF MANDAMUS


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                        CERTIFICATE OF INTEREST

     Counsel for Slyde Analytics LLC certifies the following:

1.   Provide the full names of all entities represented by undersigned counsel in
     this case:

     Slyde Analytics LLC

2.   Provide the full names of all real parties in interest for the entities. Do not list
     the real parties if they are the same as the entities:

     None.

3.   Provide the full names of all parent corporations for the entities and all
     publicly held companies that own 10 percent or more of the stock in the
     entities:

     None.

4.   List the names of all law firms, partners, and associates that (a) appeared for
     the entities in the originating court or agency or (b) are expected to appear in
     this court for the entities. Do not include those who have already entered an
     appearance in this court. Fed. Cir. R. 47.4(a)(4):

     FABRICANT LLP, 411 Theodore Fremd Avenue, Suite 206 South, Rye,
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     RUBINO IP, 51 JFK Parkway, 1st Floor West, Short Hills, New Jersey
     07078: John Rubino and Michael Mondelli, III

     TRUELOVE LAW FIRM, PLLC, 100 West Houston, Marshall, Texas
     75670: Justin Kurt Truelove

5.   Provide the case titles and numbers of any case known to be pending in this
     court or any other court or agency that will directly affect or be directly
     affected by this court’s decision in the pending appeal. Do not include the
     originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also
     Fed. Cir. R. 47.5(b).



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     None.

6.   Provide any information required under Fed. R. App. P. 26.1(b)
     (organizational victims in criminal cases) and 26.1(c) (bankruptcy case
     debtors and trustees). Fed. Cir. R. 47.4(a)(6).

     None/Not Applicable.


Dated: October 25, 2024            By:    /s/ Vincent J. Rubino, III
                                          Vincent J. Rubino, III
                                          Fabricant LLP




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I.    SUMMARY OF THE ARGUMENT
      Respondent, Slyde Analytics LLC (“Slyde” or Respondent”), respectfully

requests that the Court decline to issue a writ of mandamus directing the United

States District Court for the Eastern District of Texas (“District Court” or “EDTX”)

to transfer this action to the United States District Court for the Central District of

California (“CDCA”).

      Petitioner, Zepp Health Corp. (“Zepp” or “Petitioner”), has not shown that the

District Court’s denial of transfer amounts to a clear abuse of discretion, such that

mandamus is appropriate. Zepp focuses its Petition on rearguing its motion to

transfer and responding to Slyde’s arguments below rather than taking on the District

Court’s conclusions on the transfer factors as explained in its decision. As such,

Zepp has misapprehended its burden of proof on this extraordinary writ and has

failed to show its entitlement to relief.

      Zepp resorts to incorrectly stating that Slyde is a non-practicing entity to

buttress its deficient approach to this Petition. In fact, Slyde is an entity based in

Marshall, Texas that is an officially authorized distributor of Myotest SA

(“Myotest”) software products in the United States. Slyde also works with Myotest

to design, test, integrate, and perform analytics on its products embodying the

technology of the Asserted Patents. Appx205. Myotest’s software and products

embody interface and fitness-tracking technology in smartwatches and other



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wearable devices and practice the Asserted Patents. Id. Myotest’s software is also

licensed to other companies, including Samsung Electronics America, Inc. Id.

       Based on the facts of record, the District Court did not clearly abuse its

discretion in denying Zepp’s motion to transfer. Zepp’s application for a writ of

mandamus should be denied.

II.    COUNTERSTATEMENT OF THE ISSUES PRESENTED
       Whether the District Court properly decided that the Central District of

California is not clearly more convenient than the Eastern District of Texas.

III.   COUNTERSTATEMENT OF THE FACTS
       Slyde is a Texas limited liability company with a place of business at 104 East

Houston Street in Marshall, Texas. Appx205; Appx223. Slyde is the sole and

exclusive owner of all right, title, and interest to U.S. Patent Nos. 8,588,033;

9,651,922; 9,804,678; 10,198,085; 9,320,457; 9,873,018; and 9,536,134 (the

“Asserted Patents”). Slyde conducts business related to software distribution,

software and product development, testing, integration, and marketing of those

products, and software licensing from its Marshall office. Id. Slyde’s Marshall office

houses documents related to the Asserted Patents including marketing, user manuals,

and corporate records and files. Id.

       Slyde’s principal, James Weisfeld, travels to the EDTX for business

conducted in relation to Slyde and Mr. Weisfeld and Mr. Riad Chummun have both



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expressed preference to testify in the EDTX. Appx. 215; Appx223. Messrs. Weisfeld

and Chummun have relevant information regarding the acquisition of the Asserted

Patents; prosecution, maintenance, and licensing activities related to the Asserted

Patents; and Slyde’s patent and software licensing history. Appx222-223.

      Harold Frazier Jr., Slyde’s consultant, lives and works in the EDTX.

Mr. Frazier designs and develops products embodying the technology of the

Asserted Patents in the EDTX. Appx224. Mr. Frazier has highly relevant knowledge

regarding the design and development of the software products; the use, testing,

analytics, and development of software provided by Myotest; and the review and

testing of Myotest’s software libraries, APIs, code, and files. Id.

      Slyde filed an action in the EDTX on April 14, 2023, against Zepp. Appx009.

On December 11, 2023, Zepp filed its motion to transfer venue under 28 U.S.C.

§ 1404(a). Appx135. Slyde filed an Amended Complaint on January 30, 2024.

Appx166. On August 22, 2024, the District Court denied Zepp’s motion to transfer.

Appx001.

IV.   APPLICABLE LEGAL STANDARDS
      A writ of mandamus is “a drastic and extraordinary remedy reserved for really

extraordinary causes.” Cheney v. U.S. Dist. Court for D.C., 542 U.S. 367, 380 (2004)

(quotations omitted). “The writ of mandamus is available in extraordinary situations




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to correct a clear abuse of discretion or usurpation of judicial power.” In re

Volkswagen of Am., Inc., 566 F.3d 1349, 1351 (Fed. Cir. 2009).

      “[M]andamus may be used to correct a patently erroneous denial of transfer

or an arbitrary refusal to act on such request.” In re SK Hynix Inc., 835 F. App’x

600, 600 (Fed. Cir. 2021) (citations omitted). “That standard is an exacting one,

requiring the petitioner to establish that (1) it has a clear and indisputable legal right

to relief; (2) does not have any other method of obtaining the relief requested; and

(3) that the writ is appropriate under the circumstances.” Id. (citing Cheney, 542 U.S.

at 380–81); In re HTC Corp., 889 F.3d 1349, 1352 (Fed. Cir. 2018). The petition

should be denied “[i]f the facts and circumstances are rationally capable of providing

reasons for what the district court has done.” In re Genentech, Inc., 566 F.3d 1338,

1347 (Fed. Cir. 2009) (citation omitted); In re Vistaprint Ltd., 628 F.3d 1342, 1347

(Fed. Cir. 2010) (holding mandamus is inappropriate where there is “plausible

support of record” for the district court’s decision). Regional Circuit law, here the

law of the Fifth Circuit, applies when evaluating a petition for a writ of mandamus

to direct a District Court to transfer under § 1404(a). In re DataTreasury Corp., No.

2010-M928, 2010 WL 3074395, at *1 (Fed. Cir. Aug. 5, 2010) (“Because this

petition does not raise issues unique to our jurisdiction, we apply the law of the

regional circuit in which the district court sits, in this case the law of the Fifth

Circuit.”); In re TS Tech USA Corp., 551 F.3d 1315, 1319 (Fed. Cir. 2008).


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       The Fifth Circuit has recently clarified that “[w]hen a defendant is haled into

court, some inconvenience is expected and acceptable.” Defense Distrib. v. Bruck,

30 F.4th 414, 433 (5th Cir. 2022). Indeed, “[a]ssuming that jurisdiction exists and

venue is proper, the fact that litigating would be more convenient for the defendant

elsewhere is not enough to justify transfer.” Id. Thus, “the standard is not met by

showing one forum is more likely than not to be more convenient, but instead the

party must adduce evidence and arguments that clearly establish good cause for

transfer based on convenience and justice.” Id.; see also In re Clarke, 94 F.4th 502,

508 (5th Cir. 2024) (holding under Fifth Circuit law, transfer “is properly granted

only if the moving party ‘clearly establishes good cause’ by ‘clearly demonstrating

that a transfer is for the convenience of parties and witnesses, in the interest of

justice.’”).

V.     REASONS WHY THIS WRIT SHOULD NOT ISSUE
       Petitioner is not entitled to a writ of mandamus because the District Court

properly exercised its discretion in finding that Zepp failed to meet its burden to

show that the CDCA is clearly more convenient than the EDTX. The District Court

evaluated all the facts in the record and correctly determined that two factors, the

availability of compulsory process and judicial economy, weighed against transfer.

The remaining factors disfavored transfer or were neutral. Zepp has not shown that

the District Court clearly abused its discretion with respect to any of the factors.



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         A.      The District Court Properly Considered and Found that
                 the Availability of Compulsory Process Weighs Against
                 Transfer

      The District Court properly found that the compulsory process factor weighs

somewhat against transfer. Appx004-005. The District Court found that two

independent board members of Zepp and third-party witnesses in the EDTX with

knowledge of comparable licenses weigh against transfer. Appx005. The District

Court also relied on Zepp’s admission that this factor is neutral and its failure to

identify any potential third-party witnesses. Appx004.

      Petitioner does not deny that it conceded to the District Court that this factor

is neutral and that it identified no potential third-party witnesses. Pet. at 11-12;

Appx146-147. Nevertheless, Petitioner now contends for the first time that this

factor weighs heavily in favor of transfer by citing “numerous likely non-party

witnesses” in the CDCA, “including all of the current employees, and likely all

former employees, of ZNA,” a subsidiary of Petitioner. Pet. at 11.

      Petitioner’s new argument should be rejected because it never argued to the

District Court that current employees of ZNA should be considered under this factor.

Id. Petitioner argued below that current employees of ZNA are relevant to the willing

witness factor, not the availability of compulsory process. Appx146-147; Appx681-

682. Petitioner repeats this error in its Petition, citing to unnamed current employees

of ZNA with respect to the willing witness factor as well. Pet. at 9. A novel argument



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on mandamus that attempts to double-count witnesses in support of two distinct

factors should be disregarded.

      Petitioner did not raise the relevancy of unnamed former employees of ZNA

in the District Court until its reply brief. Appx681-682. In its opening brief below,

Petitioner stated that it “believed” that all former ZNA employees who possess

relevant knowledge still reside in the CDCA (without providing any factual support

for this belief) but admitted that it could not identify any such witnesses. Appx146.

On reply, Petitioner named two former employees in the CDCA who may have

relevant knowledge, Appx682, but Petitioner again provided no sworn testimony or

other competent evidence to support its attorneys’ speculation. Indeed, Zepp did not

even argue that either of the named witnesses would be unwilling to testify unless

subpoenaed. See In re Planned Parenthood Fed’n of Am., Inc., 52 F.4th 625, 630-

31 (5th Cir. 2022) (holding that the availability of compulsory process receives less

weight when it has not been alleged or shown that any witness would be unwilling

to testify). The District Court properly did not assign weight to Petitioner’s belated

identification of two individuals who were not shown to have relevant information

or would be unwilling to testify.

      Petitioner does not challenge the District Court’s finding that two independent

board members with business addresses in Texas weigh against transfer. Pet. at 10-

11; Appx005. Although Petitioner argues that the third-party witnesses based in the


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EDTX are irrelevant because they do not have knowledge “relevant to Zepp (or

ZNA) or the patents-in-suit or any other issue in this matter,” Pet. at 11, the District

Court found that these witnesses have knowledge of comparable third-party licenses

and prior art. Appx004. Petitioner presented no evidence undermining the

comparability of the cited licenses or prior art.

      The final argument raised by Petitioner is that a third-party witness from

Samsung does not possess relevant information, Pet. at 12, but the District Court

found that Samsung did not weigh in favor of transfer. Appx004 n.1.

      Since Petitioner contended this factor is neutral and failed to identify any

unwilling witnesses under this factor to counter the evidence cited by the District

Court, see In re Sony Grp. Corp., No. 2024-140, Dkt. 12 at 3 (Fed. Cir. Sept. 30,

2024) (“the court found Sony failed to identify any physical evidence or unwilling

witness there”), the District Court did not clearly abuse its discretion in determining

that this factor weighs somewhat against transfer.

         B.      The District Court Properly Considered and Found that
                 the Cost of Attendance of Willing Witnesses Is Neutral

      The District Court properly found that this factor is neutral because the parties

did not “sufficiently demonstrate[] to the Court the location of relevant willing

witnesses.” Appx005. The District Court did not weigh this factor in favor of transfer

because (1) Petitioner admitted that it has no employees with relevant knowledge;

(2) Petitioner pointed only to its subsidiaries, one of which is in California, as


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potentially having willing witnesses; and (3) Petitioner did not identify any willing

witness by name. Appx005-006.

       Petitioner points to no error in the District Court’s analysis. It is undisputed

that Petitioner did not specifically identify a single willing witness, much less the

specific knowledge any witnesses possess. Pet. at 9; Appx682. Petitioner merely

asserts that “irrespective of who at ZNA is determined to have information that is

potentially relevant to this litigation,” the EDTX is less convenient. The District

Court correctly found that Petitioner’s failure to specifically identify any individuals

left the court with “little to weigh regarding this factor.” Appx682; Appx004; In re

Apple Inc., No. 2024-129, 2024 WL 3886316, at *2 (Fed. Cir. Aug. 21, 2024) (“And

the court plausibly found deficiencies in Apple’s declarations and presentations of

the evidence concerning unidentified individuals as witnesses . . .”).

       Lastly, Petitioner also disputes the relevant knowledge of the two independent

board members which the District Court considered under the compulsory process

factor. Pet. at 10. However, Petitioner never argued that these witnesses lacked

relevant knowledge under this factor in its motion or on reply. Appx143-144;

Appx682-683. Even so, the District Court properly found that the board members

possessed relevant financial information, Appx005, which Petitioner does not rebut.

       Petitioner failed to show that the District Court clearly abused its discretion in

ruling that this factor is neutral.


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         C.      The District Court Properly Considered and Found
                 Sources of Proof Was Largely Neutral

      The District Court found that this factor is “largely neutral.” Appx003-004.

Petitioner only identified electronically stored evidence “in broad strokes” which is

“readily accessible in this or any district” and did not identify “particular custodians

or any custodial duties.” Appx004. Controlling precedent supports the District

Court’s treatment of the Petitioner’s conclusory assertions. Defense Distribut., 30

F.4th at 434 (finding that the district court erred by uncritically accepting the

movant’s conclusory assertion that “the sources of proof relevant to these issues . . .

are all in New Jersey”); In re Planned Parenthood, 52 F.4th at 630 (denying

mandamus where the district court “found that the vast majority of the evidence was

electronic, and therefore equally accessible in either forum”).

      The District Court could have gone further and determined that this factor

weighs against transfer based on Slyde’s specific identification of sources of proof

in the EDTX, in contrast to Petitioner’s limited sources of proof, if any, which were

not identified with specificity as required. Petitioner admitted that any relevant

evidence relating to the design and development of the Accused Products is located

in the People’s Republic of China or the Silicon Valley area of California, not the

CDCA. Appx145. Petitioner further admitted that the documents stored on cloud

servers, including design, development, marketing, sales, and financial information,




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are managed and maintained by personnel in the People’s Republic of China.

Appx145-146. The same was acknowledged by the District Court. Appx003.

      The District Court properly weighed the documents and sources of proof of

Slyde which are located in the EDTX. Appx003 (identifying Slyde’s office housing

documents in the EDTX, Slyde’s distribution of Myotest’s software products

covered by the Asserted Patents, and licensing-related documents). While Slyde also

identified the location of documents of relevant third parties, the District Court did

not consider such documents in its analysis. After weighing the sources of proof as

submitted by the parties, the District Court ultimately determined that this factor is

“largely neutral.” Appx003-004.

      In a belated attempt to undermine the District Court’s decision, the Petition

presents new and misleading arguments regarding the locations of sources of proof.

For instance, Petitioner states that its sources of proof are located in the CDCA or

the People’s Republic of China “where the accused devices were designed and

developed and where those devices are currently manufactured.” Pet. at 12.

Petitioner, however, presented no evidence that any sources of proof are located in

the CDCA, stating only that “[t]he physical documents and records of both ZNA and

Zepp, Inc., to the extent they exist, are stored and maintained in California.”

Appx155 (emphasis added). Petitioner never established the existence of relevant

documents in the CDCA.


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      Petitioner also now argues that the “allegedly infringing activities

overwhelmingly took place in the [CDCA];” however, the portions of the record

cited to by Petitioner do not support its arguments. See Appx154-155 (“All of the

smartwatch products accused of infringement by Slyde Analytics, LLC were

designed and developed in the People’s Republic of China and/or in California.”);

see id. (“All of the smartwatch products accused of infringement by Slyde Analytics,

LLC were manufactured in the People’s Republic of China. No manufacturing

was conducted in the United States.”) (emphases added). Thus, as submitted by

Petitioner’s own declarant, the infringing activity took place outside the CDCA. See

In re Sony Grp. Corp., No. 2024-120, Dkt. 12 at 3 (Fed. Cir. Sept. 30, 2024)

(“[G]iven [that] no party is located in that district, the court found that Sony failed

to identify any physical evidence or unwilling witness there . . . the technical

witnesses and material events giving rise to the case were found to be outside

NDCA”). Petitioner should not be permitted to rewrite the record.

      Finally, Petitioner argues for the first time that “employees with the ‘need-to-

know-basis’ credentials necessary to access relevant electronic documents are all

located in the [CDCA] or in the People’s Republic of China.” Pet. at 13. Since

Petitioner never raised these allegations before the District Court, they are not of

record before this Court. Even now, Petitioner does not affirmatively state what

evidence is located in the CDCA, the relevance of such evidence, and whether it


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intends to use any relevant sources of proof at trial, as required by the Fifth Circuit.

See Defense Distrib., 30 F.4th at 434. Petitioner failed to submit such evidence from

its declarant in support of its motion and should not be permitted to do so here.

       Accordingly, the District Court held this factor to be “largely neutral,” and

Petitioner can point to no clear abuse of discretion.

         D.      The District Court Properly Considered and Found
                 Judicial Economy Weighed Against Transfer
       The District Court correctly found that judicial economy weighs against

transfer. Appx006. Petitioner does not dispute the District Court’s analysis with

respect to this factor.

         E.      The District Court Properly Considered and Found the
                 Court Congestion Factor Disfavors Transfer
       The District Court correctly found that court congestion disfavors transfer.

Petitioner admitted that the “EDTX historically has a shorter time to trial than the

CDCA.” Appx149. The District Court assessed the median time to trial in both

districts, including that the time to trial in the EDTX is nine months faster than in

the CDCA. Id. Petitioner raises for the first time that because Slyde does not engage

in “product competition in the marketplace,” this factor should be found neutral. Pet.

at 14-15; Appx148-149. This argument was not presented to the District Court and

is therefore waived. Fresenius USA, Inc. v. Baxter Int’l, Inc., 582 F.3d 1288, 1296

(Fed. Cir. 2009) (“If a party fails to raise an argument before the trial court, or



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presents only a skeletal or undeveloped argument to the trial argument, we may deem

that argument waived on appeal.”). Accordingly, there was no clear abuse of

discretion by the District Court in concluding that this factor disfavors transfer.

         F.      The District Court Properly Considered and Found the
                 Local Interest Factor Was Correctly Determined to be
                 Neutral

      The District Court properly weighed the local interest factor as neutral. Slyde

is a Texas entity with its principal place of business located in the EDTX. Slyde

develops and markets software that practices the Asserted Patents in the EDTX and

conducts licensing activities from the EDTX. Appx007; Appx217.

      Petitioner’s argument that the local interest factor should weigh in favor of

transfer ignores the District Court’s analysis. For instance, the District Court held

that “while Zepp’s American subsidiary is based in California, this case is against

Zepp,” rendering the CDCA’s local interest “tenuous.” Appx007. Curiously,

Petitioner argues that “all of the activity accused by Slyde of infringement took place

in the Central District of California,” while simultaneously admitting that “the

accused products were designed, developed, and manufactured in the People’s

Republic of China.” Pet. at 14. Thus, Petitioner’s citations to decisions finding local

interests in the district “where both the patented and accused technology were

development” lends no support to Petitioner’s argument. Pet. at 14 (citing In re

Google LLC, 58 F.4th 1379, 1384-85 (Fed. Cir. 2023). Indeed, Petitioner makes no



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effort to demonstrate any relevant infringing activity took place in the CDCA; its

arguments are devoid of any citations to the record or factual underpinnings. Pet. at

14. Petitioner can point to no clear abuse of discretion by the District Court in finding

this factor is neutral.

VI.    CONCLUSION

       Petitioner attempts to rewrite the record, present new arguments, and double-

count witnesses in an effort to sway this Court to grant mandamus. The District

Court’s decision carefully assessed the relevant evidence and witnesses and the

determination of the balancing of these factors is within the “sound discretion of the

trial court based not on per se rules but rather on an ‘individualized, case-by-case

consideration of convenience and fairness.” In re Vistaprint, 628 F.3d at 1346 (citing

Van Dusen v. Barrack, 376 U.S. 612, 622 (1964)) (emphasis added). Here, the

District Court reasonably found that compulsory process and judicial economy each

weighed against transfer and the remaining private and public interest factors were

neutral or disfavored transfer based on the factual record before it. In re Apple Inc.,

No. 2024-111, 2024 WL 1153977, at *2 (Fed. Cir. Mar. 18, 2024) (“Apple has not

provided sufficiently compelling reasons to conclude that the district court clearly

abused its discretion in making these fact-specific determinations, which plausibly

support the district court’s denial of Apple’s transfer motion.”). Accordingly, this

Court should deny the petition for writ of mandamus.



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Dated: October 25, 2024          Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      I certify that RESPONDENT’S OPPOSITION TO ZEPP HEALTH CORP.’S

PETITION FOR WRIT OF MANDAMUS complies with the type-volume

limitation of Fed. R. App. P. 21(d). The Brief contains 3,532 words, excluding the

parts of the brief exempted by Fed. R. App. P. 32(f). This Brief complies with the

typeface requirements of Fed. R. App. P. 32(a)(5) and the type style requirements of

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      I further certify that a copy of the forgoing RESPONDENT’S OPPOSITION

TO ZEPP HEALTH CORP.’S PETITION FOR WRIT OF MANDAMUS is being

served by overnight delivery to the courtroom deputy to:

      The Honorable Robert W. Schroeder III, U.S.D.J.
      United States Courthouse and Post Office
      500 North State Line Avenue, Third Floor
      Texarkana, Texas 75501

      The Honorable Roy Payne, U.S.M.J.
      Sam B. Hall, Jr. Federal Building and United States Courthouse
      100 East Houston Street
      Marshall, Texas 75670

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                          CERTIFICATE OF SERVICE

      In accordance with Fed. R. App. P. 25 and Fed. Cir. R. 25, I certify that I

caused the foregoing brief to be filed with the Court electronically using the

CM/ECF system, which will send a notification to all counsel of record.


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